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 5   Attorneys for Plaintiffs

 6                                    UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 7                                         AT SAN FRANCISCO

 8   _________________________________________
      FOOD & WATER WATCH, et al.,              ) Civ. No. 17-CV-02162-EMC
 9                                             )
                              Plaintiffs,      ) ERRATA RE: PLAINTIFFS’ REPLY IN
10                vs.                          ) SUPPORT OF THEIR MOTION FOR
                                               ) SUMMARY JUDGMENT AND
11    U.S. ENVIRONMENTAL PROTECTION            ) PARTIAL SUMMARY JUDGMENT
      AGENCY, et al.                           )
12                                             ) Date: November 7, 2019
                              Defendants.      ) Time: 12:00 p.m.
13                                             ) Judge: Hon. Edward Chen
                                               ) Courtroom: 5, 17th Floor
14                                             )
                                               )
15

16                                                    ERRATA
17
            It has come to Plaintiffs’ attention that errors exist in Plaintiffs’ Reply in the form of (1) incorrect
18
     citations to the record, (2) several typographical errors, and (3) one inadvertently omitted page from Dr.
19
     Tala Henry’s deposition transcript. These errors are as follows:
20

21          (1) Incorrect Citations:

22          Page 2, Line 3: Ex. 21 at 209:3-12 should be Ex. 21 at 209:4-12

23          Page 2, Line 6: Ex. 20 at 180:18-181:4 should be Ex. 20 at 181:5-12.
24
            Page 2, Line 15: The quote “virtually unanimous” should be “almost unanimous.”
25
            Page 2, Line 17: The pages 367:16-368:11 should be 364:18-365:7.
26
            Page 3, Line 11: Ex. 19 at 162:25-163:7 should be Ex. 19 at 162:19-163:7.
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     ERRATA RE: PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT AND PARTIAL
                                          SUMMARY JUDGMENT
           Case 3:17-cv-02162-EMC Document 126 Filed 10/29/19 Page 2 of 4



            Page 4, Line 6: The cited paragraphs from the Henry Declaration should not include ¶ 21.
 1
            Page 4, Line 7: Ex. 3 ¶ 3 should be Ex. 3 ¶ 4.
 2

 3          Page 5, Line 11: Id. should be Ex. 3 ¶ 10.

 4          Page 6, Line 20: Ex. 3 ¶ 4 should be Ex. 3 ¶ 9.
 5          Page 7, Line 2: The citation to Ex. 3A at 67 was inadvertently omitted.
 6
            Page 8, Line 3: The pages cited from Ex. 27 should not include 246:8-247:25 or 249:16-23.
 7
            Page 8, Line 6: Ex. 9 at 150:4-151:4 should be Ex. 9 at 149:4-151:4.
 8
            Page 9, Line 15: The citation incorrectly included 270:14.
 9

10          Page 10, Line 12: Ex. 3 ¶ 4 should be Ex. 3 ¶ 6.

11          Page 10, Line 26: Ex. 13 ¶ 9 should be Ex. 3 ¶ 9.

12          Page 12, Line 11: Ex. 28 at 261:24-262:3 should be Ex. 28 at 261:14-22.
13          Page 12, Lines 15-16: There should be no citation to Exhibit 28.
14
            Page 12, Lines 21: Ex. 32 at 386:4-8 should be Ex. 32 at 385:4-8.
15
            (2) Typographical Errors:
16
            Page 1, Line 7: The second “that” should be deleted.
17

18          Page 2, Line 8: Should be: “naturally occurring fluoride at >1.5 mg/l”

19          Page 2, Line 24: Should be: “pesticides”

20          Page 3, Line 23: Should be: “provides”
21
            Page 11, Line 4: Should be: “the prospective birth cohort study”
22
            Page 11, Line 15: The second “therefore” should be deleted.
23
            Page 11, Lines 24-25: “However” and the “to” before “for the specific purpose” should be deleted.
24
            Page 15, Line 7: Delete “(”
25

26          For the convenience of the Court, Plaintiffs have attached a copy of their motion herein as Exhibit

27   A in which the above-mentioned errors have been corrected.
28                                               2
     ERRATA RE: PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT AND PARTIAL
                                          SUMMARY JUDGMENT
           Case 3:17-cv-02162-EMC Document 126 Filed 10/29/19 Page 3 of 4



            (3) Inadvertently Omitted Page from Dr. Tala Henry’s Deposition:
 1
            Page 385 from Dr. Henry’s transcript, which is cited on page 12 (Line 21), was inadvertently
 2

 3   omitted. It is attached herein as Exhibit 32: Omission.

 4          Plaintiffs sincerely apologize for any inconvenience these errors may have caused the Court.
 5          Dated: October 29, 2019                       Respectfully submitted,
 6
                                                          /s/ Michael Connett
 7                                                        MICHAEL CONNETT
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     ERRATA RE: PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT AND PARTIAL
                                          SUMMARY JUDGMENT
           Case 3:17-cv-02162-EMC Document 126 Filed 10/29/19 Page 4 of 4




 1                                          CERTIFICATE OF SERVICE

 2          I hereby certify that a true and correct copy of the foregoing was served by Notice of Electronic

 3   Filing this 29th day of October, 2019, upon all ECF registered counsel of record using the Court’s CM/ECF
     system.
 4
                                                                /s/ Michael Connett
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                                                                MICHAEL CONNETT
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     ERRATA RE: PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT AND PARTIAL
                                          SUMMARY JUDGMENT
